 Case 2:20-cv-02204-PKH Document 10              Filed 12/29/20 Page 1 of 1 PageID #: 25




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FORT SMITH DIVISION

ADAM BLAKE DIAMOND                                                                 PLAINTIFF

v.                                  No. 2:20-CV-02204

CRAWFORD COUNTY JAIL                                                             DEFENDANT

                                           ORDER

       The Court has received a report and recommendations (Doc. 9) from United States

Magistrate Judge Mark E. Ford. No objections have been filed and the deadline to file objections

has passed. The Magistrate recommends on preservice screening that the Court dismiss this case

because Defendant is not a “person” subject to suit under 42 U.S. C. § 1983. The report and

recommendations (Doc. 9) is ADOPTED IN ITS ENTIRETY.

       IT IS THEREFORE ORDERED that this case is DISMISSED WITH PREJUDICE.

       Judgment will be entered accordingly.

       IT IS SO ORDERED this 29th day of December, 2020.


                                                           /s/P. K. Holmes, III
                                                           P.K. HOLMES, III
                                                           U.S. DISTRICT JUDGE
